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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 19-5040-SNOW


  UNITED STATES OF AMERICA,

                  Plaintiff,

  v.

  LYUYOU LIAO,

              Defendant.
  ______________________________


                                        DETENTION ORDER

                  Pursuant to 18 U.S.C. § 3142(f), on January 6, 2020, a hearing was held to determine

  whether Defendant, Lyuyou Liao should be detained prior to trial. Having considered the factors

  enumerated in 18 U.S.C. § 3142(g), this Court finds that no condition or combination of conditions

  will reasonably assure the appearance of this Defendant as required and/or the safety of any other

  person and the community. Therefore, it is hereby ordered that Defendant, Lyuyou Liao be detained

  prior to trial and until the conclusion thereof.

                  In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes the

  following findings of fact and statement of reasons for the detention:

                  1. The Defendant is charged with entering a military property for the purpose of

  photographing a defense installation, in violation of 18 U.S.C. §795, all in violation of 18 U.S.C.

  § 1382. 18 U.S.C. § 3142(g)(1).

                  2. The weight of the evidence against the Defendant is substantial. Government

  witnesses will testify that at approximately 6:50 a.m. on December 26, 2019, the Defendant was

  observed walking along the fence line of the Key West Naval Air Station in the Truman Annex in

  Key West, Florida. The Naval Air Station is a U.S. Military Installation and several warning signs

  were posted prohibiting entry on the property. Several witnesses told the Defendant that he was not
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  allowed to enter the Naval Air Station property, but he did so anyway and proceeded to take several

  photographs of government buildings on the property.

                 One of the witnesses called 911 and military police officers responded. They

  observed that the Defendant had in his possession a cell phone and a camera, and that there was a

  photograph of Government buildings on the camera. After being advised of his rights, the Defendant

  said he was trying to photograph the sunrise. However, from the Defendant’s vantage point, the

  sunrise was obstructed and could not be photographed. 18 U.S.C. § 3142(g)(2).

                 3. The pertinent history and characteristics of the Defendant are that he is a citizen
  of China who entered the United States on a student visa based on his enrollment at Washington

  University in St. Louis, Missouri. The Defendant has no ties to the United States and his student visa

  has been revoked. The Defendant has no incentive to appear for trial and clearly constitutes a risk

  of flight. 18 U.S.C. § 3142(g)(3)(A) and (B).

                 4. The Court specifically finds that there are no conditions or combination of

  conditions which reasonably will assure the Defendant's appearance as required and/or the safety of

  any other person and the community. 18 U.S.C. § 3142(e).

                 Based upon the above findings of fact, which were supported by clear and convincing

  evidence, the Court has concluded that this Defendant presents a serious risk of flight if released

  prior to trial. The Court hereby directs:

                         (a) That the Defendant be committed to the custody of the Attorney General

  for confinement in a corrections facility separate, to the extent practical, from persons awaiting or

  serving sentences or being held in custody pending appeal;

                         (b) That the Defendant be afforded reasonable opportunity for private

  consultation with counsel; and

                         (c) That, on order of a court of the United States or on request of an attorney

  for the Government, the person in charge of the corrections facility in which the Defendant is

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  confined deliver the Defendant to a United States Marshal for the purpose of an appearance in

  connection with a court proceeding.

                DONE AND ORDERED at Key West, Florida, this 10th day of January, 2020.




  Copies to:

  AUSA Karen Gilbert (MIA)
  Daniel Rashbaum, Esq.

  U.S. Probation Office (KW)




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